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 4
 5
                         IN THE UNITED STATES DISTRICT COURT
 6
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8                                              )
     UNITED STATES OF AMERICA,                  )
 9             Plaintiff,                       )   Case No.: 2:17-cr-00169-GEB
                                                )
10         v.                                   )
11                                              )   STIPULATION AND [PROPOSED]
     GAOSHENG LAITINEN,                         )   ORDER TO EXTEND THE DEADLINE
12           Defendant.                         )   TO POST THE PROPERTY BOND
                                                )
13                                              )
                                                )
14                                              )
15                        STIPULATION AND PROPOSED ORDER
16         The United States of America through its undersigned counsel, Michael Beckwith,
17   Assistant United States Attorney, together with Thomas A. Johnson, counsel for
18   Gaosheng Laitinen, hereby stipulate the following:
19      1. By previous order, on September 12, 2017, Gaosheng Laitinen was ordered
20         released on a $75,000 property bond on her property located in Minnesota. The
21         court ordered that the property bond needed to be posted within ten days,
22         September 22, 2017.
23      2. By this stipulation, Defendant now moves to continue the deadline to post the
24         property bond to October 6, 2017.
25      3. The Government does not object to the extension.
26
27   IT IS SO STIPULATED.
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 1   DATED: September 25, 2017
 2                                            /s/ Thomas A. Johnson
                                              THOMAS A. JOHNSON
 3                                            Attorney for Gaosheng Laitinen
 4
     DATED: September 25, 2017                PHILLIP A. TALBERT
 5                                            United States Attorney
 6                                            /s/ Michael Beckwith
                                              MICHAEL BECKWITH
 7                                            Assistant U.S. Attorney
 8
                                       ORDER
 9
10         IT IS SO ORDERED.
11
12   Dated: September 26, 2017
                                           _____________________________________
13                                         CAROLYN K. DELANEY
                                           UNITED STATES MAGISTRATE JUDGE
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